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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

YVONNE BROWN,                  *
                               *
        Plaintiff,             *
                               *
    v.                         *                          1:21-CV-02446-ELR
                               *
NORTH GA REAL ESTATE LLC,      *
                               *
        Defendant.             *
                               *
                          _________

                                        ORDER
                                        _________

       On July 7, 2021, Plaintiff filed a “Notice of Settlement,” indicating that the

Parties have reached a settlement in principle. [Doc. 5]. For good cause shown, the

Court DIRECTS the Clerk to ADMINISTRATIVELY CLOSE this case.1 The

Parties shall file a stipulation of dismissal upon finalization of the settlement

documents. If settlement fails, the Parties should promptly move to reopen the case.

       SO ORDERED, this 8th day of July, 2021.


                                                   ______________________
                                                   Eleanor L. Ross
                                                   United States District Judge
                                                   Northern District of Georgia


1
 The Court notes that administrative closure does not affect the rights of any Party. Any Party
may move to reopen the case at any time.
